                        IN THE UNITED STATES BANKRUPTCY COURT
                                Middle District of Pennsylvania

In the Matter of:                                             :
                                                              :        Case No. 1:22-bk-01453-HWV
Stubert Martin Turpie, Jr.                                    :
Marjorie Lee Turpie                                           :        Chapter 7
                                                              :
Debtor(s)                                                     :


           MOTION TO CONVERT CASE FROM CHAPTER 7 TO CHAPTER 13

Pursuant to 11 U.S.C. § 706, the above-named Debtor(s) requests that this court enter an Order converting this case
under Chapter 7 to a case under Chapter 13 of the Bankruptcy code (title 11 of the United States Code), on the
grounds set forth below.

1.      On August 6, 2021 , the above-named Debtor(s) filed a Voluntary Petition under Chapter 7 of the
Bankruptcy Code.

2.      This case has not been previously converted under 11 U.S.C. § 1112, § 1208, or § 1307.


WHEREFORE, Debtor(s) prays for an Order converting this case under Chapter 7 to Chapter 13 of the Bankruptcy
Code.




 Date September 30, 2022                              Signature   /s/ Stubert Martin Turpie, Jr.
                                                                  Stubert Martin Turpie, Jr.
                                                                  Debtor


 Date September 30, 2022                              Signature   /s/ Marjorie Lee Turpie
                                                                  Marjorie Lee Turpie
                                                                  Joint Debtor
 Attorney /s/ Michael J. Csonka
            Michael J. Csonka 91232

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